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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS

GROUPON, INC.                             )
                                          )
                  Plaintiff,              )
                                          )
   v.                                     ) Case No. 1:21-cv-06082
                                          )
SUNG SHIN,                                )
                                          )
                 Defendant.               )

   PLAINTIFF GROUPON, INC.’S MEMORANDUM OF LAW IN SUPPORT OF
     EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER
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           Pursuant to Rule 65 of the Federal Rules of Civil Procedure, Plaintiff Groupon, Inc.

(“Groupon”) respectfully moves for a temporary restraining order enjoining Defendant Sung Shin

(“Shin”) from breaching his contractual obligations to Groupon and from using Groupon’s trade

secrets.

                                 PRELIMINARY STATEMENT

           This Court should temporarily enjoin Defendant, Sung Shin, from working for one of

Groupon’s main competitors, Yelp, Inc. (“Yelp”). Shin, a highly-compensated Groupon executive,

is poised to join Yelp in nearly the same role he held at Groupon and, in so doing, he will violate

a valid and enforceable contract.

           Shin joined Groupon just seven months ago after negotiating a significant compensation

package worth almost a million dollars, including a large, upfront $100,0000 sign-on bonus and

$700,000 in equity. In return for that lucrative package, Shin agreed to a valid and reasonable non-

compete agreement, contained within the Confidentiality, Intellectual Property and Restricted

Covenants Agreement (“Agreement”). Then, before his first anniversary at Groupon, Shin

abruptly announced he was leaving the company to join Yelp, in violation of the Agreement. Shin

has also refused to return the $100,000 sign-on bonus, in violation of another promise.

           To be clear, Groupon does not seek to prohibit Shin from gainful employment. When Shin

announced his resignation, Groupon offered Shin the opportunity to remain employed at Groupon;

it even offered to continue to employ Shin (and provide him with his full base pay of $275,000,

annual bonus eligibility, retention of $100,000 sign-on bonus, and benefits) while he searched for

employment that did not infringe on his post-employment obligations to Groupon. Shin refused

these reasonable overtures, and now Groupon is left with no alternative but to seek emergency

injunctive relief.



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       Shin is obligated to honor the express promises he made to Groupon and for which he

collected a considerable amount of cash in his seven months of service. Shin acknowledged in

writing that, if he broke these promises, Groupon would suffer irreparable harm. And Shin’s

employment with Yelp will undoubtedly cause Groupon irreparable harm in that it will inevitably

require him to use, divulge and reference Groupon’s critical trade secrets.

       Groupon and Yelp directly compete in the hyper-competitive consumer-to-merchant online

marketplace and in the corresponding online advertising space. Shin himself acknowledged while

at Groupon that Yelp is a direct competitor. He routinely used Yelp as a direct comparator in his

work at Groupon to define, hone and execute Groupon’s digitalized advertising strategy. Shin’s

characterization is not surprising; Groupon has long viewed Yelp as a competitor. Yelp’s 10-K

also reflects it competes directly for the same digitalized advertising spend from a limited set of

merchants. And, the market analysts who follow both companies view Groupon and Yelp as direct

competitors.

       Shin, Groupon, Yelp’s 10-K, and the market are not wrong; Yelp and Groupon are direct

competitors. Both platforms seek to derive revenue and good will by connecting merchants to

customers in similar verticals (e.g., food and drink, health, beauty and wellness, home and

automotive) through targeted digitalized advertising, developed and executed to drive revenue to

one company over another.

       Shin led this advertising team for Groupon and he now seeks to leverage Groupon’s hard-

earned confidential information and trade secrets for Yelp to do the same thing. Although Shin

only worked at Groupon for seven (7) months, he was the architect of Groupon’s digitalized

advertising strategies. He used his unfettered access to Groupon’s most confidential data and




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analytics to specially develop and lead a vital advertising strategy for Groupon. Now Shin will,

intentionally or inevitably, unfairly use these trade secrets to help Yelp unfairly compete.

       This is precisely what Shin agreed not to do when he accepted his contract with Groupon

(along with more than a million dollars in compensation and stock), and it is precisely the sort of

conduct that Illinois courts do not allow. Shin’s attempt to contravene his contractual obligations

to Groupon—obligations consistent with and upheld by Illinois law—will irreparably harm

Groupon and diminish the value of Groupon’s trade secrets and confidential information.

       Groupon seeks limited emergency relief from this Court enforcing reasonable and

necessary restrictive covenants and prohibiting threatened and inevitable trade secret disclosure.

Under clearly established Illinois law and Illinois Supreme Court direction, immediate injunctive

relief is warranted to enjoin Shin’s unlawful actions and to preserve the status quo.

                                  FACTUAL BACKGROUND

I.     GROUPON’S BUSINESS
       Groupon is an online marketplace where multi-location enterprise merchants and small

businesses advertise their products and services to earn consumer spend. Groupon operates in

three main categories: Local, Goods, and Travel. In these market segments, Groupon targets

merchants for advertising spend to facilitate consumer engagement and to drive consumer

purchasing.

       Small and enterprise merchants use Groupon’s advertising platform to promote their local

offerings to potential customers and to expose themselves to consumers throughout the purchase

cycle. Consumers use Groupon’s platforms to search for and discover enterprise and small

businesses’ services and deals, primarily in the food and beverage, home services, beauty, health,

and wellness, and automotive verticals.




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        Groupon’s Local category is its largest and most profitable. This category includes

offerings from local merchants and national merchants with a local presence, and comprises

multiple verticals of local experiences.

        To leverage its competitive advantage in its market segments, particularly Local, Groupon

provides merchants targeted and specialized cost per click, cost per impression, and cost per action

advertising. To achieve merchant objectives, maintain Groupon’s existing advertising

relationships, and foster new ones, Groupon has invested years and substantial resources to study

and scrutinize small and enterprise merchants’ preferences, advertising spends, and returns on

advertising spend.


II.     SHIN’S EMPLOYMENT WITH GROUPON

        A.     The Offer of Employment

        On February 24, 2021, Groupon extended a verbal offer of employment to Shin. On

February 25, 2021, Groupon formally extended Shin an offer of employment as its Vice President

– Global Head of Advertising and Ancillary Revenue and, as part of its offer process, sent him a

formal Offer Letter (the “Letter”) and the Agreement. The Letter expressly stated Groupon’s offer

of employment was contingent upon Shin’s acknowledgement of, and acceptance of, the

Agreement, as described herein. See Cmplt., ¶ 22, Exhibit B thereto.

        The Letter acknowledged that due to the COVID-19 pandemic, Shin would commence his

employment remotely. See Cmplt., ¶ 22, Ex. B. The Letter set forth Shin’s annualized base salary

of $275,000 and further detailed Shin’s eligibility to participate in Groupon’s Annual Bonus Plan

with an annual Target Bonus equal to 40% of his base salary as consideration for agreeing to the

terms of the Agreement. Id. Accordingly, Shin’s cash compensation package amounted to




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$385,000 per year, if he achieved his target bonus (and he already received $45,000205 in his first

tranche of the target bonus).

          The Letter further detailed Groupon’s grant to Shin of Restricted Share Units valued at

$700,000, which was contingent upon his acknowledgement and execution of the Agreement. Id.

The Letter also detailed Groupon’s grant to Shin of a sign-on bonus of $100,000 as additional

consideration for the Agreement. Id. The Letter explained that if Shin’s employment with

Groupon were to terminate within two years, the sign-on bonus must be repaid. Id.

          Groupon provided Shin with the Agreement on February 25, 2021 at the same time it

tendered the Letter. Shin signed the Letter that same day. Id. He signed the Agreement on March

17, 2021. On March 30, 2021, Groupon paid Shin his $100,000 sign-on bonus. On April 21, 2021,

Groupon granted Shin 12,613 restricted share units, as outlined in the Letter. On May 3, 2021,

Shin signed the Groupon, Inc. 2011 Incentive Plan Notice of Restricted Share Unit Award and the

Groupon, Inc. 2011 Incentive Plan Restricted Share Unit Award Agreement.


          B.     Shin’s Agreement with Groupon

          In consideration for Shin’s employment with Groupon, annual compensation of $275,000,

a $100,000 sign-on bonus, Restricted Share Units valued at $700,000, an annual bonus target of

40% of his base salary ($110,000), and access to Groupon’s trade secrets and proprietary

information, Shin executed the Agreement on March 17, 2021, nearly a month after he was

presented with it (pre-acceptance) and before he commenced his first day of work on March 23,

2021 1.

          The Agreement contains, among other things, provisions to protect Groupon’s Proprietary



1
 Shin executed the same version of the Agreement presented to him when Groupon extended its offer of
employment.

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Information (as defined therein). In it, Shin also agreed not to compete against Groupon for a

period of eighteen (18) months following his separation from Groupon. The non-competition

provision provides, in pertinent part:

               13.     Non-Compete, Non-Solicit of Business, Non-Solicit of
               Employees/Contractors and No-Hire (“Restricted Covenants”). I
               acknowledge and agree that during my employment and during the
               Restricted Period, regardless of the reason for my termination, I will not,
               without Groupon’s consent, other than on behalf of Groupon:

                        (a)   Directly or indirectly, and whether or not for compensation,
               . . . be employed by, consult with or contract with any entity which is in
               competition with Groupon in the Geographic Area. The restriction in the
               preceding sentence only applies to positions with responsibilities similar to
               any position I held with Groupon during the twelve (12) months preceding
               the termination of my employment or relationship with Groupon or in which
               I would have responsibility for and access to confidential information
               similar or relevant to that which I had access to during the twelve (12)
               months preceding the termination of my employment or relationship with
               Groupon. The Geographic Area shall mean any geographic territory where
               I was assigned to work and/or over which I had responsibilities during the
               twelve (12) months preceding the termination of my employment or
               relationship with Groupon and any area within a 50-mile radius of such
               geographic territory;

See Cmplt., ¶ 1, Exhibit A thereto, ¶ 13(a).

       The Agreement provides the following on the Restricted Period:

               12.     Restricted Period. I agree that the Restrictive Covenants in this
               Section II shall apply during my employment and during the “Restricted
               Period.” The “Restricted Period” begins as of the date I cease to be
               employed by Groupon and is defined as eighteen (18) months from the Date
               of Termination. Date of Termination is the date recorded in Groupon’s
               internal Human Resources Information Systems that my employment was
               terminated with Groupon.

See Cmplt., ¶ 1, Ex. A ¶ 12.

       The Agreement further prohibits Shin from using, disclosing or transmitting Groupon’s

Proprietary Information. See Cmplt., ¶ 1, Exh. A ¶ 2(b).

       The Agreement details Proprietary Information to include:


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               [A]ny and all technical and non-technical information including patent,
               copyright, trademark, trade secret, and proprietary information, techniques,
               sketches, drawings, models, inventions, know-how, business methods,
               processes, apparatus, equipment, algorithms, software programs, domain
               names, social media handles, code, software source documents, flowcharts,
               tools, architectures, databases, menu layouts, routines, formats, data
               compilers and assemblers, and formulae related to the current, future and
               proposed products and services of Groupon or its subsidiaries, and
               including, without limitation, respective information concerning research,
               experimental work, development, design details and specifications,
               engineering, financial information, procurement requirements, purchasing
               manufacturing, customer lists, job histories, job performance and salary
               information of employees, business forecasts, sales and merchandising and
               marketing plans and information. “Proprietary Information” also includes
               proprietary or confidential information of any third party who may disclose
               such information to Groupon or to me under any obligation of
               confidentiality in the course of Groupon’s business.

See Cmplt., ¶ 1, Ex. A ¶ 1.

       By executing the Agreement, Shin acknowledged the Agreement’s covenants were

reasonable in light of “the nature of Groupon’s business; the valuable relationships Groupon has

with its . . . merchants and customers, which were developed at considerable expense, time and

difficulty; [Shin’s] position with Groupon; and [Shin’s] knowledge of Groupon’s business,

including Groupon’s trade secrets.” See Cmplt., ¶ 1, Ex. A, ¶ 14. Shin also agreed violations or

attempted violations of his contractual obligations would cause irreparable and continuing damage

to Groupon for which there would be insufficient adequate remedy at law. He further agreed

Groupon shall be entitled to injunctive relief and/or a decree for specific performance should he

violate his contractual obligations to Groupon. See Cmplt., ¶ 1, Ex. A, ¶ 20.

       Shin further acknowledged that he has substantial material connections to Illinois by way

of his employment with Groupon. He agreed the Agreement shall be governed by Illinois law,

and he irrevocably consented to the exclusive personal and subject matter jurisdiction of the federal

and state courts located in Illinois. He further agreed that the forum for any disputes arising out



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of the Agreement shall be in the federal and state courts in Illinois. See Cmplt., ¶ 1, Ex. A, ¶ 23.


         C.       Shin’s Role and Duties at Groupon

         Shin worked for Groupon from March 23, 2021 to November 12, 2021. Shin announced

his resignation on October 28, 2021 2.

         Throughout his tenure at Groupon, Shin led Groupon’s global advertising business and

oversaw multiple teams at Groupon including Content Marketing, Digital Advertising, Affiliates,

Content Operations, and Advertising Revenue with over 30 employees on his team. Shin reported

directly to Groupon’s Illinois-based Chief Revenue Officer (one of eight members of Groupon’s

executive team). The Chief Revenue Officer reports directly to Groupon’s Interim Chief Executive

Officer, also based in Illinois. Unlike an advertising role focused on advertisements’ creative

components, Shin’s role was to analyze and use Groupon’s business performance data and metrics,

such as merchant-by-merchant analyses of advertising spend, return on advertising spend, and

advertising preferences, to develop and implement day-to-day and long-term advertising strategies

catered to its former, current and prospective merchants and customers.

         One of Shin’s primary objectives was to develop and implement a multi-year advertising

model. This model facilitated audience extension by providing Groupon’s merchants with a

mechanism to reach potential customers beyond Groupon’s website. To implement the plan, Shin

used the same specialized, merchant-by-merchant analyses he relied upon to develop Groupon’s

granular, day-to-day advertising strategy, as described herein.



2
 Pursuant to Groupon’s offer, Shin would have retained his $100,000 signing bonus so long as his employment did
not terminate within two years of its commencement, consistent with the terms of the Letter. However, because Shin
announced the termination of his employment at Groupon less than one year after its commencement, on November
10, 2021, Groupon requested Shin repay the net $100,000 sign-on bonus, consistent with the terms set forth in the
Letter. Shin refused to repay the sign-on bonus. Shin’s annual bonus was and is paid out, pro rata, in two installments
pursuant to the 2021 Annual Bonus Plan (“ABP”) terms. He received $45,205 bonus in August 2021. By resigning,
he forfeited the second installment of the ABP to be paid in early 2022.

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       The access to confidential information and specialized training Groupon provided to Shin

throughout his employment underscores the uniqueness of Shin’s advertising position at Groupon.

To facilitate his development and curation of Groupon’s advertising platform, Groupon educated

Shin on its historical advertising strategies. Shin had unfettered access to a wide array of

Groupon’s proprietary data, including merchant revenues, merchant balance sheets and advertising

spend by market segment.        Groupon also trained Shin on Groupon’s specific advertising

methodology, including cost per click, cost per impression, and cost per action, as well as the

efficacy of each method. Shin’s access to and knowledge of this information enabled him to

develop Groupon’s multi-year and day-to-day advertising strategies.

       Shin regularly consulted with executives on Groupon’s sales, production and business

operations teams to build and implement Groupon’s advertising platform.              Shin solicited

proprietary feedback from these teams, such as merchant-by-merchant analyses of advertising

preferences, objections, spend, and returns on spend, to tailor Groupon’s advertising pitches and

overall strategy to former, current, and prospective advertising clients. Shin fused his advertising

expertise with the knowledge he acquired from Groupon’s sales, products and business operations

teams to curate Groupon’s short- and long-term advertising plans.

       Shin learned the identities of Groupon’s former, current, and prospective advertising

merchants.   He also learned their advertising needs and the strategies, both effective and

ineffective, utilized to achieve those advertising objectives. He is also intimately familiar with

their specific sales objections to Groupon’s online platform and advertising offerings and

Groupon’s strategies to overcome those objections. Shin used these historical, merchant-by-

merchant analyses to anticipate potential and current clients’ advertising needs or objections, and

ultimately to develop Groupon’s advertising strategies to drive revenue.



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        Groupon also provided Shin with highly confidential financial data to craft and implement

his advertising strategy. Groupon disclosed to Shin its global financials and specific advertising

financial data, including merchant-by-merchant revenue generated, money spent, ad fulfillment,

and return on spend. Shin also had access to market analyses on the efficacy of a variety of

advertising strategies in different locations, geographically-based consumer survey results, repeat-

consumer business experience data, average consumer spend, and merchant and client survey data

on sponsored ads. Only select, high-level executives in Groupon’s finance, sales and advertising

teams had access to this sensitive information. Shin used this confidential information to craft an

advertising plan tailored to former, current, and prospective merchants’ advertising needs. With

this information, he crafted an advertising strategy to give Groupon a tactical advantage over its

competitors, including Yelp, for merchants’ advertising dollars. In sum, Shin had intimate access

to and knowledge of Groupon’s most confidential information so that he could execute his high-

level duties.

        Shin’s regular participation in Groupon’s executive meetings provided him with insights

into Groupon’s high-level business operations. During Groupon’s Global Weekly Business

Reviews and Monthly Business Reviews, in which Shin participated, Groupon’s executives and

team leads regularly discussed Groupon’s specific sales and advertising performance as well as

global strategy details. Shin also learned, on a more granular level, the precise account margins

and metrics for Groupon’s collective business. Shin’s participation in these high-level meetings

exposed him to critical performance metrics of Groupon’s entire business, not only its advertising

space. Shin combined Groupon’s individual metrics, such as merchant-by-merchant analyses of

advertising spend and profitability, with Groupon’s holistic performance to drive its advertising

game plan.



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         Shin was the primary architect of Groupon’s advertising strategies, and he intimately

knows the specific details and the collection of individual metrics relied upon to develop those

strategies.


III.     YELP AND GROUPON ARE DIRECT COMPETITORS.
         In announcing his resignation, Shin informed Groupon he was leaving to work for Yelp in

a high-level role to Lead Product Management for Yelp’s Enterprise and Multi-Location - Yelp

Audiences and In-store Measurement Group. 3 In this role, Shin will undoubtedly provide Yelp

with expertise to develop advertising strategies to compete for the same advertising spend as its

online marketplace competitors, namely Groupon.

         Groupon historically has considered Yelp to be one of its primary competitors. See Cmplt.,

¶ 72, Exhibit F thereto. At its core, Yelp, like Groupon, is a “marketplace,” that provides small and

enterprise merchants with a platform to engage consumers by advertising merchant services and

ultimately driving customers to purchase those services. Both Groupon and Yelp facilitate the

merchant-consumer connection. More specifically, Yelp and Groupon have built-in, overlapping

consumer bases that utilize the respective platforms to connect with, discover, and engage

enterprise and local verticals.

         Both Yelp’s and Groupon’s platforms provide targeted and specialized advertising services

to draw in consumers for their merchant clients based on collected, processed, and analyzed

information concerning the consumer and the likelihood the advertisement will attract the

particular consumer. Merchants, in turn, advertise on Yelp and Groupon to attract consumers to


3
  On November 3, 2021, Groupon’s counsel sent Shin and Yelp a letter regarding Shin’s post-employment obligations.
The correspondence also informed Shin and Yelp that Shin’s role at Yelp will lead to Shin’s certain breach of those
obligations. Shin and Yelp both acknowledged receipt of the letter. In the letter, Groupon also offered Shin the
opportunity to remain employed at Groupon; it even offered to continue to employ Shin (and provide him with his full
base pay and benefits) while he searched for other employment that did not infringe on his post-employment
obligations to Groupon. Shin refused both options.

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merchants’ services and ultimately to facilitate purchase of their products.

       Yelp’s advertising platform also operates in the same verticals. Yelp offers and publicizes

merchant “deals” on its advertising platform, which Yelp describes as “discounted vouchers that

customers can purchase for [merchant] business[es].” Such “deals” services are at Groupon’s core.

(https://www.yelp-support.com/article/How-do-I-post-a-Yelp-Deal-or-GiftCertificate?l=en_US

(last visited November 10, 2021)).

       Recent analyst reports similarly describe Yelp and Groupon as competitors in the online

local marketplace spaces. See Cmplt., ¶ 75, Exhibit H thereto (“These are two of the best-known

brands addressing the online local services market – both with high brand awareness and a shared

vision of connecting consumers with local businesses.”).

       Yelp’s 10-Q, filed on November 5, 2021, further underscores the parallels and inherently

competitive dynamic between Yelp and Groupon. “We generate substantially all of our revenue

from the sale of performance-based advertising products, which our advertising platform matches

to individual consumers through auctions priced on a cost-per-click ("CPC") basis.” See Cmplt.,

¶ 65, Ex. E thereto. Groupon similarly generates revenue through performance-based advertising.

       Groupon and Yelp also are direct competitors in mobile reach, vying to be the “leading

local guide” connecting consumers to merchants in local markets. See Cmplt., ¶ 74, Ex. G thereto.

For instance, Groupon and Yelp both have consumer-driven blogs, showcasing the gamut of

merchant products and services, from wellness products to food and beverage locales. See

https://www.groupon.com/thegist/ (showcasing food and beverage guides, such as “Phoenix

Phoodies: These Are the 10 Best Restaurants in the Valley of the Sun”) (last visited November 10,

2021); https://blog.yelp.com/category/community/ (highlighting locale-driven food and beverage

spots, such as “A vegan road trip through the Midwest”) (last visited November 10, 2021).



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         Shin himself acknowledged Yelp as a competitor and specifically compared Yelp’s and

Groupon’s platforms. See Cmplt., ¶ 80, Exhibits J, K thereto. In fact, in an August 4, 2021 email,

Shin discussed Yelp’s “Yelp Audiences” platform and compared it to Groupon, stating that it

“aligns with the data roadmap we [Groupon] built out.” Shin will lead this same group at Yelp as

its Lead Product Management for Yelp’s Enterprise and Multi-Location - Yelp Audiences and In-

store Measurement Group (emphasis added). See Cmplt., ¶ 80, Ex. J. As Shin acknowledged, Yelp

and Groupon are direct competitors.

                                           ARGUMENT

I.       THIS COURT HAS PERSONAL JURISDICTION OVER SHIN.
         This Court may properly exercise personal jurisdiction over Shin because he has sufficient

minimum contacts with Illinois. A federal district court sitting in diversity looks to the long-arm

statute of the state in which it is sitting to determine whether it has personal jurisdiction over the

defendant. Bally Export Corp. v. Balicar, Ltd., 804 F.2d 398, 399 (7th Cir. 1986).

         The Illinois long-arm statute provides in relevant part that a nonresident submits to the

jurisdiction of the Illinois courts by transacting business within the state. Id. It also provides that

making a promise substantially connected with Illinois is sufficient to establish personal

jurisdiction. See Reeve v. Ocean Ships, Inc., Case No. 10 C 8147, 2011 WL 3165765 (N.D. Ill.

July 27, 2011). Under these analyses, a court’s determination centers on whether the defendant

has sufficient minimum contacts with Illinois such that the maintenance of the suit does not offend

traditional notions of fair play and justice. Majumdar v. Fair, No. 1:21-cv-0928, 2021 WL

4864147 (N.D. Ill. Oct. 19, 2021). This Court has personal jurisdiction over Shin based on both

bases.




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        First, Shin had considerable contacts with Illinois and his Chicago-based employer,

Groupon. 4 Illinois courts regularly exercise personal jurisdiction over individual defendants in

these exact circumstances, pursuant to its long-arm statute. In Liqui-Box Corp. v. Scholle IPN

Corp., the court found substantial contacts with Illinois where the defendant regularly

communicated with the employer’s employees in Illinois, reported to a supervisor in Illinois, used

back office services in Illinois, including payroll processing, was paid from the employer’s Illinois

bank accounts, and accessed confidential information and emails stored in the employer’s servers

in Illinois. No. 1:19-cv-4069, 2021 WL 5006692 (N.D. Ill. Oct. 28, 2021).

        Similarly, in Tekway Inc. v. Agarwal, No. 19-CV-6867, 2020 WL 5946973, at *6 (N.D. Ill.

Oct. 7, 2020), this Court found personal jurisdiction over an out-of-state employee because the

employee reached out to in-state employees to apply for a job, signed a contract with a choice-of-

law clause, and communicated regularly by phone, email and messaging applications with in-state

employees. No. 19-CV-6867, 2020 WL 5946973, at *6 (N.D. Ill. Oct. 7, 2020).

        Here, Shin’s contacts are more sufficient than those in Liqui-Box and Tekway. Shin

knowingly joined an Illinois-based company. Shin interviewed with employees (save one) based

in Illinois, he signed the Agreement with an Illinois choice of law, and he communicated regularly

with Illinois employees, including his subordinates and supervisor. His access to the very

confidential information and trade secrets at the heart of this dispute came from his Illinois-based

employment with Groupon and originated in Illinois. Shin’s compensation and sign-on bonus was

paid from Illinois. He received equity in an Illinois company. His supervisor, the Chief Revenue

Officer, and also the majority of Groupon’s leadership, are located in Illinois. Thus, this Court’s

exercise of personal jurisdiction over Shin fully comports with Illinois law.


4
  Shin worked remotely from Washington because of the COVID-19 pandemic and the concomitant inability to
travel to Illinois during his short tenure.

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        Second, this Court has personal jurisdiction over Shin because he entered into the

Agreement, in which he consented to Illinois’ personal jurisdiction. In connection with his

execution of the Agreement, Shin expressly acknowledged he has substantial material connections

to Illinois by way of his employment with Groupon. See Agreement at ¶23. He agreed the

Agreement would be governed by Illinois law, and he irrevocably consented to the exclusive

personal and subject matter jurisdiction of the federal and state courts located in Illinois. Id. He

further agreed that the forum for any disputes arising out of the Agreement would be in the federal

and state courts in Illinois. Id. Illinois courts have found consent to a forum selection clause

within a contract constitutes implied consent to personal jurisdiction within that

forum. Solargenix Energy, LLC v. Acciona Solar Energy, LLC, 2020 IL App (1st) 180176. Thus,

this court has personal jurisdiction over Shin.


II.     ILLINOIS LAW APPLIES NOTWITHSTANDING SHIN’S WASHINGTON
        RESIDENCY.
        Under Illinois choice of law principles, Illinois law applies to the Agreement. Illinois

generally follows the Restatement (Second) of Conflict of Laws in making choice-of-law

decisions. Dancor Constr., Inc. v. FXR Constr., Inc., 64 N.E.3d 796, 812 (2d Dist. 2016). Section

187 of the Restatement applies when, as here: (i) the parties have made an express choice of law

in the Agreement; (ii) Illinois law has a substantial connection to the parties, notwithstanding

Shin’s Washington residency; and (iii) the application of Illinois law is not fundamentally contrary

to Washington law.

        In Illinois, a contract’s choice of law provision controls unless the chosen state has no

substantial relationship to the parties or transaction or the application of the chosen law would be

contrary to a fundamental public policy of a state with a materially greater interest in the issue in

dispute. GE v. Uptake Techs., Inc., 394 F. Supp 815, 825 (N.D. Ill. 2019). Here, each of these

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prongs is satisfied. Shin acknowledged and agreed the Agreement would be governed by Illinois

law and as discussed directly supra, Illinois has a substantial relationship to the parties and Shin’s

employment.. See Agreement at ¶ 23.

       Shin resides in Washington, but there are no other factors present that would afford

Washington a materially greater interest. Moreover, application of Illinois law would not be

contrary to a fundamental public policy of Washington. See Chapter 49.62 RCW §§ 49.62.005-

49.62.900. In Uptake Techs, the court applied Illinois law to determine whether New York law

(the agreed upon choice of law) or California law (where the employees resided) applied to certain

employee contracts. The court determined the agreements were enforceable under New York law

but void under California law. However, because California courts disagreed whether employee

non-solicitation provisions were prohibited, the court could not conclude that applying New York

law was clearly contrary to fundamental California public policy. Thus, the court did not deviate

from the parties’ choice of New York law. 394 F. Supp. at 825-29.

       Similarly, here, Illinois law applies because the application of Illinois law would not violate

fundamental Washington public policy. Illinois and Washington are indeed quite similar with

respect to the protections they afford employees in the non-competition context. For instance, they

both require non-competition covenants to be reasonable and necessary to protect a legitimate

business interest, they both have salary thresholds (indeed, Shin easily eclipses both salary

thresholds), and they require temporal and geographic scopes and activity restraints to be

reasonable. Illinois’s recently enacted amendments to the Freedom to Work Act will also require

employers to provide certain advance disclosures. As such, Illinois and Washington law are not

so fundamentally different that application of Illinois law would be contrary to Washington’s

fundamental public policy. Lastly, Washington’s non-compete law does not require application



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of Washington law. See Chapter 49.62 RCW §§ 49.62.005-49.62.900. Groupon is well within its

rights to litigate the enforceability of the Agreement in an Illinois court and under Illinois law.


III.     THE GOVERNING LEGAL STANDARD WARRANTS ISSUANCE OF A TRO.
         The Court should exercise its discretion to grant the requested temporary restraining order

to prevent further harm to Groupon’ legitimate business interests. To obtain a TRO, a movant

must establish: (1) its case has some likelihood of success on the merits; (2) that no adequate

remedy at law exists; and (3) it will suffer irreparable harm if the injunction is not granted. Long

v. Bd. of Educ., 167 F. Supp. 2d 988, 990 (N.D. Ill. 2001). If the court is satisfied these

requirements have been met, it must then consider the irreparable harm the nonmoving party will

suffer if preliminary relief is granted, balancing such harm against the irreparable harm the moving

party will suffer if relief is denied. Id. Finally, the court must also consider how the public's

interests would be affected by granting or denying the preliminary relief. Id. Groupon is entitled

to a temporary restraining order because this Motion satisfies each element required for issuance

of a TRO under Illinois and Seventh Circuit law.


IV.      GROUPON IS LIKELY TO SUCCEED ON THE MERITS OF ITS CLAIMS.
         Groupon’s Verified Complaint creates a strong prima facie showing that Shin has breached

and will continue to breach his Agreement by virtue of his work for Yelp. Groupon will also likely

succeed on the merits of its threatened misappropriation of trade secrets claims under the Illinois

Trade Secrets Act (“ITSA”) and Defend Trade Secrets Act (“DTSA”). Without immediate injunctive

relief preventing Shin from working for Yelp, Shin will continue to breach his contractual post-

employment non-compete obligations to Groupon and threaten to misappropriate Groupon’s trade

secret and confidential information for Yelp’s benefit.




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       A.      Groupon is Likely to Succeed on the Merits of its Breach of Contract Claim
               Based on Shin’s Breach of the Agreement.

       Shin unquestionably breached and will continue to breach the Agreement, which is a valid

and enforceable contract. The essential elements of a breach of contract claim are: (1) the existence

of a valid and enforceable contract; (2) performance by the plaintiff; (3) breach by the defendant;

and (4) resulting injury to the plaintiff. Wolff v. Bethany N. Suburban Grp., 2021 IL App (1st)

191858, ¶ 62 (Ill. App. Ct. 1st Dist. 2021). Groupon’s Verified Complaint satisfies all four

elements.


               1.      Shin’s Agreement Is a Valid and Enforceable Contract
                       a.      The Non-Competition Covenant in the Agreement is Ancillary to a
                               Valid Relationship and Supported by Adequate Consideration.

       The Agreement’s restrictive covenant is supported by valid consideration and is reasonably

necessary to protect Groupon’s legitimate business interests. Under Illinois law, “a restrictive

covenant will be upheld if it contains a reasonable restraint and the agreement is supported by

consideration.” Reliable Fire Equip. Co. v. Arredondo, 965 N.E.2d 393, 396 (Ill. 2011). Prior to

undertaking this reasonableness analysis, Illinois courts make two determinations.

       First, the court must find that the covenant is ancillary to either a valid transaction or a valid

relationship; second, the court must determine whether there is adequate consideration to support the

covenant.” Prairie Rheumatology Assocs., S.C. v. Francis, 24 N.E.3d 58, 62 (Ill. App. Ct. 3d Dist.

2014). Both determinations are satisfied here.

       First, the Agreement’s non-compete covenant is clearly ancillary to a valid relationship. It is

contained within the Agreement, which clarifies the terms of the employment relationship between

Shin and Groupon. See, e.g., Abel v. Fox, 654 N.E.2d 591, 597 (Ill. App. Ct. 4th Dist. 1995) (a




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“noncompetition covenant entered into by an at-will employee, whether the employee is employed

under a written or oral agreement, complies with the requirement of ancillarity”).

        Second, adequate consideration supports the Agreement’s restrictive covenant. In exchange

for entering into the Agreement, Groupon provided Shin with a $100,000 sign-on bonus, a

$275,000 base salary, eligibility for an annual bonus with a target of 40% of this base salary

($110,000 target of which he already has received $45,000), Restricted Share Units valued at

$700,000, and access to Groupon’s trade secrets and confidential information, as described herein.

These benefits undoubtedly constitute adequate consideration to support a restrictive covenant under

Illinois law. 5 See McInnis v. OAG Motorcycle Ventures, Inc., 35 N.E.3d 1076, 1084 (Ill. App. Ct.

2015) (highlighting additional incentives, such as a bonus, are adequate consideration for a restrictive

covenant); Traffic Tech, Inc. v. Kreiter, No. 14-cv-7528, 2015 U.S. Dist. LEXIS 169248, at *63 (N.D.

Ill. Dec. 18, 2015) (finding consideration was likely adequate where an employer provided an

employee a sign-on bonus, the employee worked for nine months, and the employee voluntarily

resigned). The Agreement’s express terms condition Shin’s compensation upon his execution of

the Agreement, and state that Shin enters into the Agreement “[i]n return for my new or continued

employment with Groupon, Inc. . . . any other monetary benefits received at the time of signing,

and other good and valuable consideration, including but not limited to employee benefits,

training, career progression, promotions, access to confidential information.” See Cmplt., ¶ 1, Ex.

A.

                          b.       The Non-Competition Covenant is Reasonable and Necessary to
                                   Protect Groupon’ Legitimate Business Interests.


5
  To the extent Shin argues the Agreement lacks sufficient consideration because he has not been employed for two
years pursuant to Fifield, 993 N.E.2d 938 (Ill. App. Ct. 2013), he is flatly incorrect. Groupon gave Shin separate,
independent consideration beyond at-will employment in exchange for his execution of the Agreement, including a
sign-on bonus, eligibility for annual bonus (of which $45,000 was paid to him in June 2021), equity and access to
trade secrets and confidential information.

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       The Agreement also satisfies the reasonableness requirement under Illinois law, as it is “no

greater than is required for the protection of a legitimate business interest of the employer-promisee.

. . .” Reliable Fire, 965 N.E.2d at 396 (citations omitted). The Illinois Supreme Court has held

“whether a legitimate business interest exists is based on the totality of the facts and circumstances

of the individual case.” Id. at 403. Accordingly, “[e]ach case must be determined on its own

particular facts” and “[r]easonableness is gauged not just by some but by all of the circumstances.”

Id. (internal quotations and citation omitted); see also Zabaneh Franchises, 972 N.E.2d 344, 350

(Ill. App. Ct. 4th Dist. 2012) (courts determine the reasonableness of restrictive terms in light of

the competing interests between the unfair restraint of employee’s trade and employer’s interest in

protecting proprietary information”). Acquisition of confidential information is a protectable interest

under Illinois law. Reliable Fire, 965 N.E.2d at 403.

       The non-compete obligations in Shin’s Agreement are reasonably related to the protection of

Groupon’s legitimate business interests. Shin had unfettered access to a wide array of proprietary

data, specifically Groupon’s global financials, in addition to its specific advertising financial data,

including merchant-by-merchant revenue generated, money spent, ad fulfillment, and return on

spend. Shin also had access to market analyses on the efficacy of a variety of advertising strategies

in different locations, geographically-based consumer survey results, repeat-consumer business

experience data, average consumer spend, and merchant and client survey data on sponsored ads.

       Shin’s role at Groupon exposed him to the identities of Groupon’s former, current and

prospective advertising clients. Groupon also exposed Shin to client’s advertising needs and

strategies, both effective and ineffective, utilized to achieve those advertising objectives. It also

gave him access to client’s specific sales objections to Groupon’s online platform and advertising

offerings and Groupon’s strategies to overcome those objections. It is well-settled in Illinois that



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long-term customer relationships constitute protectable interests justifying enforcement of a non-

compete. See, e.g., McRand, Inc. v. van Beelen, 486 N.E.2d 1306, 1311 (Ill. App. Ct. 1st Dist. 1985).

        In synthesizing these various forms of proprietary information, Shin developed a

specialized expertise of Groupon’s historic advertising practices and the metrics used to drive

Groupon’s multi-year and day-to-day advertising strategies. See, e.g., Fisher/Unitech, Inc. v.

Computer Aided Tech., Inc., 2013 WL 1446425, at *3 (N.D. Ill. Apr. 9, 2013) (“There is no

question that protecting confidential operational and customer information is a legitimate,

protectable business interest of an employer”); Mickey's Linen v. Fischer, 2017 WL 3970593, at

*17 (N.D. Ill. Sep. 8, 2017) (finding a restrictive covenant reasonable and enforceable against a

former employee where an employer had a legitimate interest in confidential information).

        Even though he was employed by Groupon for a relatively short period of time, Shin had

expansive access to and continues to have knowledge of Groupon’s advertising strategies and the

metrics from which those strategies are derived. This access gives Shin the precise tools and

information to help Yelp unfairly compete with Groupon for merchants’ limited advertising dollars.

See McElroy, Inc. v. Delaney, 72 Ill. App. 3d 285, 292-93 (Ill. App. Ct. 1st Dist. 1979) (holding the

“advantage gained by the potential use of confidential information is a legitimate business interest

protectable by [restrictive] covenant”).

                        c.        The Temporal and Geographic Limits Are Reasonable Given
                                  Shin’s Knowledge and the Scope of Groupon’ Business.

        Here, the temporal and geographic limitations are commensurate with those regularly

enforced by Illinois courts. Given the highly confidential and specialized nature of Shin’s knowledge,

the temporal and geographic limitations of the Agreement’s non-compete provision are valid and

enforceable under Illinois law.




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       The eighteen-month temporal limitation of Shin’s non-compete covenant is presumptively

enforceable under Illinois law. Illinois courts regularly uphold time restrictions for two years or

longer. See, e.g., Mohanty, 225 Ill. 2d at 78 (three- and five-year restrictions); Zabaneh, 972

N.E.2d 344 (two years); My Favorite Muffin, Too, Inc. v. Maosheng Wu, 2002 WL 826483 (N.D.

Ill. Apr. 29, 2002) (two years). Shin’s relatively short period of employment does not impact the

reasonableness of the restricted period given the nature of his role at Groupon and his unfettered

access to the Company’s proprietary information, especially where, as here, Shin had the option

to remain employed at Groupon while he searched for a non-competitive role with his full base

pay, bonus, and benefits intact.

       Similarly, the geographic scope of the non-compete provision is reasonable given Shin’s

extensive knowledge of Groupon’s advertising roadmap and the data from which it is derived. In

general, a geographic limitation is not unreasonable if it is coextensive with the area in which the

employer does business. See, e.g., Torrence v. Hewitt Assocs., 493 N.E.2d 74, 78 (Ill. App. Ct. 1st

Dist. 1986); McElroy, 72 Ill. App. 3d at 293. Here, the Agreement’s geographic scope is “any

geographic territory where I was assigned to work and/or over which I had responsibilities during

the twelve (12) months preceding the termination of my employment or relationship with Groupon

and any area within a 50-mile radius of such geographic territory,” see Cmplt., ¶ 1, Ex. A, ¶ 13(a),

and thus falls squarely within Illinois law’s parameters.

       Shin’s job duties and responsibilities provided him extensive knowledge of Groupon’s

advertising business Company-wide and, as such, likely justify an even broader geographic

restriction tracking the full geographic scope of Groupon’s business operations. Indeed, by virtue

of his title as Vice President – Global Head of Advertising and Ancillary Revenue (emphasis

added), Shin’s role had no geographic parameters. See Cent. Water Works Supply, Inc. v. Fisher,



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240 Ill. App. 3d 952, 958-59 (Ill. App. Ct. 4th Dist. 1993) (upholding non-compete clause with

restricted area as “the geographical area in which the Company is then doing business” where

plaintiff had a protectable interest and would be injured by former employer working for

competitor in same geographical area).

                       d.     The Agreement’s Non-Competition Covenant Is Enforceable Under
                              Washington Law.

       Although Illinois law plainly applies to the Agreement and this dispute, if analyzed under

Washington law, the Agreement’s non-competition covenant is equally valid and enforceable.

Washington law provides that non-compete agreements are presumptively unenforceable unless:

(i) the employee's earnings exceed $100,000 (in total annualized compensation, not just base

salary) per year; (ii) the restricted time period does not exceed 18 months after termination of

employment; and (iii) the terms of the non-compete agreement were disclosed no later than when

the offer was accepted. See generally RCW 49.62.020.

       The Agreement’s protective covenant satisfies each of these elements. First, Shin earned

$275,000 annually as base compensation, well in excess of the $100,000 threshold. Second, the

covenant’s restricted period lasts eighteen (18) months after Shin’s termination, in accordance with

the statute. Third, Groupon disclosed the Agreement to Shin concurrently with his offer of

employment and before he accepted the employment.

       The Washington statute does not require a Washington choice of law or require

Washington as the forum for adjudication. Rather, the Washington statute deems a forum selection

clause unenforceable if it requires adjudication outside of Washington and it deprives the




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employee of the protections or benefits under RCW 49.62.020. The Agreement does not deprive

Shin of the law’s benefits because it is valid and enforceable under Washington law. 6

                           e.       Shin’s likely reliance on CVS v. Brown is misplaced.

         Shin will likely attempt to rely on the CVS Pharmacy, Inc. v. Brown case to evade his

lawful obligations. No. C21-306 MJP, 2021 U.S. Dist. LEXIS 49450 (W.D. Wash., Mar. 16,

2021). Any such reliance would be misplaced. In holding the entire non-compete unenforceable

due to a Rhode Island venue and choice of law provision, the Court ignored the plain language of

the statute, which provides that only that provision is void and unenforceable if it deprives the

employee of the protections afforded under Washington law. Here, applying Illinois law does not

deprive Shin of any rights to which he is otherwise entitled under Washington law. See RCW

49.62.050.

         Additionally, the Washington court misapplied the express language of the Washington

statute in concluding CVS’s non-compete to be unenforceable. In a single comment, the court

concluded the entire non-compete to be unenforceable because it selected a venue other than

Washington. But that is not the requirement under Washington’s non-compete statute. The

Washington non-compete statute expressly provides that a provision in a non-compete signed by

an employee who is Washington-based is void and unenforceable “(1) [i]f the covenant requires

the employee or independent contractor to adjudicate a noncompetition covenant outside of this

state; and (2) [t]o the extent it deprives the employee or independent contractor of the protections

or benefits of this chapter.” RCW 49.62.050 (emphasis added).


6
  Additionally, Groupon maintains the Washington statute is inapplicable to the Agreement in the first instance. The
Washington statute expressly does not apply to a covenant entered into by a person acquiring an ownership interest.
See RCW 49.62.010(4). In exchange for his execution of the non-compete, among other things, Groupon granted
Shin RSUs valued at $700,000. His grant of equity was contingent on Shin signing the Agreement. These RSUs
constituted an ownership interest in Groupon. See Keach v. United States Trust Co., 313 F. Supp. 2d 818, 837 (C.D.
Ill. 2004) (describing restricted stock as a kind of “ownership interest”). As a result, by its own express terms, the
Washington statute is inapplicable to the Agreement.

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       As such, the court incorrectly deemed the entire non-compete void and unenforceable

rather than the specific venue provision.       It further incorrectly deemed the non-compete

unenforceable without undertaking the appropriate analysis of whether the agreement deprived the

employee of the protections and benefits of the statute. Here, as discussed, Groupon did not

deprive Shin of any of the protections and benefits of the statute nor would applying Illinois law,

which is entirely consistent with Washington law.


               2.      Groupon Satisfies the Remaining Elements of its Breach of Contract
                       Claims.
       Groupon performed its obligations under the Agreement. Despite the binding nature of

this Agreement, Shin has materially breached, and continues to breach, it in several ways.

       The Agreement’s non-competition provision provides that Shin shall not “[d]irectly or

indirectly, and whether or not for compensation, . . . be employed by, consult with or contract with

any entity which is in competition with Groupon in the Geographic Area. The restriction in the

preceding sentence only applies to positions with responsibilities similar to any position I held

with Groupon during the twelve (12) months preceding the termination of my employment or

relationship with Groupon or in which I would have responsibility for and access to confidential

information similar or relevant to that which I had access to during the twelve (12) months

preceding the termination of my employment or relationship with Groupon.” Shin has breached

both aspects of the Agreement’s non-competition covenant.

       First, Shin’s role at Yelp, Lead Product Management for Yelp’s Enterprise and Multi-

Location - Yelp Audiences and In-store Measurement Group, is directly competitive with his

former role at Groupon. At their cores, Yelp and Groupon are online marketplaces that connect

consumers to local small and enterprise businesses in the same verticals.




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         Yelp and Groupon also offer competing advertising services. Merchants advertise on Yelp

and Groupon to connect with consumers throughout the purchase cycle and to drive consumer

spend.    To determine the advertisements most effective to attract consumers to merchants’

services, both platforms use collected, processed, and analyzed information about consumer

responses to advertisements.     Ultimately, Yelp and Groupon compete for merchants’ finite

advertising dollars.

         Shin’s role at Yelp directly competes with his former role at Groupon. Shin was Groupon’s

lead advertising architect, and he developed and implemented Groupon’s advertising strategy to

compete for merchants’ limited advertising dollars, specifically by promoting their specific

services and facilitating consumer spend. Similarly, in his new role at Yelp, Shin will develop and

implement advertising strategies tailored to attract small and enterprise merchants, the same

merchants Groupon targets and for which Groupon and Yelp compete for advertising spend.

         Second, and also in violation of the Agreement’s non-competition provision, Shin will be

responsible for and access confidential information similar to that which he had access at Groupon.

At Yelp, Shin will use and rely on data-driven metrics to curate and implement advertising

strategies. Just as in his role at Groupon, Shin will study and analyze merchants’ advertising

objectives and outcomes, i.e., their advertising successes and failures, and develop strategies to

overcome objections to drive revenue to Yelp (and away from its competitor Groupon).

         Both roles require Shin to access and to rely upon financial data, such as merchant

advertising spend and return on advertising spend. Ultimately, and in direct violation of the

Agreement, Shin’s role at Yelp mirrors that of his former role at Groupon and demands he assume

responsibility for and access data relating to merchant preferences, profitability and advertising

spend.



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        Shin has breached his obligations under the Agreement and will continue to breach by

performing the same or similar job duties and responsibilities with Yelp, and by necessarily using

Groupon’s confidential information and trade secrets. Shin’s use and disclosure of Groupon’s

confidential information has, and will continue to, harm Groupon. Accordingly, Groupon has

demonstrated a substantial likelihood of success on the merits of this breach of Agreement claim7.


        B.       Groupon Will Succeed on the Merits of Its Claim for Threatened
                 Misappropriation of Trade Secrets Against Shin.

        Shin’s role at Yelp threatens to misappropriate Groupon’s trade secrets in violation of the

ITSA and DTSA. Under the ITSA, to establish trade secret misappropriation, a plaintiff must

show (1) the existence of a trade secret and (2) misappropriation. PepsiCo, Inc. v. Redmond, 54

F.3d 1262, 1268 (7th Cir. 1995). Likewise, to establish trade secret misappropriation under the

DTSA, a plaintiff must prove (1) that the relevant information is a trade secret and (2) that the

defendant misappropriated the trade secret within the meaning of § 1836(b)(1). See Packaging

Corp. of Am., Inc. v. Croner, 419 F. Supp. 3d 1059, 1066 (N.D. Ill. 2020). Groupon is able to

demonstrate a likelihood of success as to each of these elements because Shin’s employment with

Yelp creates a real and imminent threat of misappropriation.


                 1.       Groupon’s Advertising Strategies and the Data From Which They Are
                          Derived Constitute Trade Secrets.
        Groupon’s Verified Complaint establishes a likelihood of success on the merits of its

misappropriation claims because its advertising strategies, curated from merchant-by-merchant




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 Groupon also brings a claim for breach of the Letter. Although Groupon does not seek a temporary restraining order
on this basis, it likely also will succeed on this claim because it meets each of the four requisite elements.

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analyses and Groupon’s holistic performance metrics, constitute trade secrets under Illinois and

federal law. The ITSA defines a “trade secret” as:


      [I]nformation, including but not limited to, technical or non-technical data, a
      formula, pattern, compilation, program, device, method, technique, drawing,
      process, financial data, or list of actual or potential customers or suppliers, that: (1)
      is sufficiently secret to derive economic value, actual or potential, from not being
      generally known to other persons who can obtain economic value from its
      disclosure or use; and (2) is the subject of efforts that are reasonable under the
      circumstances to maintain its secrecy or confidentiality.
735 ILCS 1065/2(d).

       Illinois courts consider six factors when deciding whether a trade secret exists: (1) the

extent to which the information is known outside the plaintiff’s business; (2) the extent to which

it is known by employees and others involved in the plaintiff’s business; (3) the extent of measures

taken by the plaintiff to guard the secrecy of the information; (4) the value of the information to

the plaintiff and to the plaintiff’s competitors; (5) the amount of effort or money expended by the

plaintiff in developing the information; and (6) the ease or difficulty with which the information

could be properly acquired or duplicated by others. Liebert Corp. v. Mazur, 357 Ill. App. 3d 265,

277 (2005).

       Under the DTSA, a trade secret is defined as follows:


       “[A]ll forms and types of financial, business, scientific, technical, economic, or
       engineering information including patterns, plans, compilations, program devices,
       formulas, designs, prototypes, methods, techniques, processes, procedures,
       programs, or codes, whether tangible or intangible, and whether or how stored,
       compiled,     or    memorialized     physically,    electronically,    graphically,
       photographically, or in writing if – (A) the owner thereof has taken reasonable
       measures to keep such information secret; and (B) the information derives
       independent economic value, actual or potential, from not being generally known
       to, and not being readily ascertainable through proper means by, another person
       who can obtain economic value from the disclosure or use of the information[.]”

18 U.S.C. § 1839(3). The information at issue satisfies either definition.




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       Shin used Groupon’s confidential information and trade secrets to specially develop a

lucrative advertising strategy for Groupon. To develop and implement Groupon’s advertising

strategies, Shin studied and relied upon Groupon’s financial data on both global and granular

levels. Shin’s participation in Groupon’s high-level executive meetings exposed him to critical

performance metrics of Groupon’s entire business, not only its advertising space.

       On a more granular level, Shin learned particularized merchant-by-merchant revenue

generated, money spent, ad fulfillment and return on spend. These numeric analyses fostered

Shin’s understanding of merchants’ advertising select needs; the strategies, both effective and

ineffective, utilized to achieve advertising objectives; specific sales objections to Groupon’s online

platform and advertising offerings; and Groupon’s strategies to overcome those objections.

       Shin also relied upon Groupon’s historic advertising methodology to curate its day-to-day

and multi-year advertising strategies. Groupon exposed Shin to historic market analyses on the

efficacy of various advertising strategies, including cost per click, cost per impression and cost per

action in different locations; geographically-based consumer survey results; repeat-consumer

business experience data; average consumer spend; and merchant and client survey data on

sponsored ads.

       Groupon invested years as well as substantial resources and money to generate these

particularized metrics – metrics from which Shin developed Groupon’s advertising strategies to

compete for merchants’ advertising spend. Groupon derives independent economic value from

these Groupon-specific and non-public metrics. As a result, this information constitutes trade

secrets. See, e.g., See Fire ‘Em Up, Inc. v. Technocarb Equipment (2004) Ltd., 799 F. Supp. 2d

846, 850 (N.D. Ill. 2011) (among other things, combinations or compilations of materials

necessary to create product or perform certain services; programs, methods, techniques and



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devices used to create product and render services; financial data, marketing plans and advertising

strategies constitute trade secrets); PepsiCo, Inc., 54 F.3d at 1265-66 (strategic goals including

pricing, distributing, and marketing plans and funding plans for specific markets, and plans

regarding innovations in selling and delivery systems constituted trade secrets); Inmar, Inc. v.

Vargas, 2018 WL 6716701, at *3 (N.D. Ill. Dec. 21, 2018) (business development plans and

marketing and pricing strategies constituted trade secrets).

       This information undoubtedly is valuable to Groupon competitors, such as Yelp, as it

enables them to tailor their advertising strategies to merchant-specific needs and objectives by

unfairly tapping into Groupon’s analyses of merchants’ historic advertising practices, successes,

failures and advertising spends. More specifically, Yelp, through Shin’s Groupon advertising

expertise and know-how, will gain insights into the metrics and data underlying Groupon’s

advertising strategies and will enable Yelp to shortcut the years and substantial resources Groupon

invested to develop its curated and particularized advertising strategies.

       Groupon has taken various, reasonable measures to protect the confidentiality of its

advertising strategies and the metrics from which they are derived including password-protecting

all Groupon-issued devices and applications on which a Groupon employee may access Groupon’s

confidential information and requiring employees to execute confidentiality and restrictive

covenant agreements.

       To further safeguard its advertising know-how, only select, high-level executives in

Groupon’s finance, sales and advertising teams have access to the same sensitive information Shin

had access. See Vendavo, Inc. v. Long, 397 F. Supp. 3d 1115, 1135 (N.D. Ill. 2019) (sales strategies

that are intended to be kept secret qualify as trade secrets).


               2.      Shin’s Conduct Creates an Imminent Threat of Misappropriation.


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         Both the ITSA and DTSA permit injunctive relief in order to prevent actual and threatened

misappropriation. 735 ILCS 1065/3(a); 18 U.S.C. § 1836(b)(3). Here, Shin poses a significant

threat to misappropriate Groupon’s trade secrets. In Illinois, the inevitable disclosure of a

plaintiff’s trade secrets is enough to show threatened misappropriation under the ITSA. PepsiCo.,

Inc., 54 F.3d at 1268; Allied Waste Servs. of N. Am., LLC v. Tibble, 177 F. Supp. 3d 1103, 1112

(N.D. Ill. 2016) (noting that under a theory of inevitable disclosure, plaintiff must merely show

that the employee “cannot operate without inevitably disclosing the confidential information”).

         Courts consider three factors when evaluating whether an employee’s new employment

inevitably will lead to disclosure of his former employer’s trade secrets: (1) the level of

competition between the former employer and the new employer; (2) whether the employee’s

position with the new employer is comparable to the position he held with the former employer;

and (3) the actions the new employer has taken to prevent the former employee from using or

disclosing trade secrets of the former employer. Molon Motor & Coil Corp. v. Nidec Motor Corp.,

No. 16 C 03545, 2017 WL 1954531, at *5 (N.D. Ill. May 11, 2017) (quotation marks and citation

omitted). Courts give less weight to the third factor, because “a complaint is not likely to contain

any allegations about what, if anything, the competitor did to safeguard the plaintiff’s secrets.” Id.

at *7.

         Groupon satisfies the requisite elements to establish the inevitable disclosure of its trade

secrets. First, Groupon and Yelp are direct competitors in the online local marketplace space,

competing in the same verticals for the same advertising spend. See Cmplt., ¶ 65. Second, Yelp

has hired Shin to lead the same advertising initiatives as Shin spearheaded at Groupon, specifically

to earn merchants’ limited advertising dollars by determining the most effective ways to lure

consumers to merchants’ services on Groupon’s website. Third, despite knowledge of Shin’s post-



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employment obligations to Groupon, Yelp hired Shin in a directly competitive role. Thus, Yelp

has taken no action to prevent Shin’s unlawful disclosure of Groupon’s trade secrets.

       In his role at Yelp, Shin cannot help but use and rely upon the specialized and proprietary

information he learned while serving as Groupon’s advertising architect. Shin inevitably will draw

upon Groupon’s particularized advertising strategies based on analyses and performance data of

Groupon’s former, current and prospective advertising clients to compete with Groupon for

merchants’ advertising spend. See, e.g., Mickey’s Linen, 2017 WL 3970593, at *13 (former

employer established former employee and competitor threatened misappropriation by

demonstrating employee was a key account representative before joining former employer’s

competitor in a comparable role and failing to return former employer’s confidential documents).

Undoubtedly, Shin’s role at Yelp will lead to the inevitable disclosure of Groupon’s trade secrets.


V.     GROUPON WILL SUFFER IRREPARABLE HARM ABSENT A TRO.
       Groupon has and will continue to suffer irreparable harm as a result of Shin’s actions. After

demonstrating a likelihood of success on the merits of its case, a plaintiff must also demonstrate

irreparable harm is “likely” if the court denies its request for injunctive relief. Winter v. Natural

Resources Defense Council, Inc., 555 U.S. 7, 22 (2008). Here, Groupon meets its burden of

establishing it has been, and will continue to be, irreparably harmed by Shin’s misconduct.

       First, Groupon establishes threatened misappropriation of its trade secrets. Groupon’s

Verified Complaint demonstrates that Shin has accepted employment with Groupon’s direct

competitor in a role where he will necessarily rely upon and divulge Groupon’s trade secrets. In

cases of threatened trade secret misappropriation, there is a presumption of irreparable harm. See,

e.g., Computer Assocs. Int’l v. Quest Software, Inc., 333 F. Supp. 2d 688, 700 (N.D. Ill. 2004);

IDS Fin. Servs., Inc. v. Smithson, 843 F. Supp. 415, 418 (N.D. Ill. 1994) (finding that “the threat


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is significant that the harm experienced by the misappropriation or misuse of trade secrets will be

irreparable”).

        Second, Shin is armed with specialized, intimate knowledge of the data driving Groupon’s

advertising strategies. To develop and implement Yelp’s advertising strategies, Shin necessarily

will use and rely upon his knowledge of Groupon’s merchant analyses, among other things, to

compete for the same advertising spend as Groupon. In such a situation, irreparable harm is

likewise demonstrated. See, e.g., Vencor, Inc. v. Webb, 33 F.3d 840, 845 (7th Cir. 1994) (holding

that having an employee who had access to confidential information work for a competitor

constituted an “irreparable injury” that “could not be undone”); Tyler Enterps. of Elwood, Inc. v.

Shafer, 573 N.E.2d 863, 866 (Ill. App. Ct. 3d Dist. 1991) (presuming irreparable harm where a

former employee with specialized knowledge of employer lured away former customers through

a competing business).

        Indeed, upon executing the Agreement, Shin acknowledged that a “breach of any of the

promises or agreements contained herein will result in irreparable and continuing damage to

Groupon.” See Cmplt., ¶ 1, Ex. A, ¶20.


VI.     GROUPON LACKS AN ADEQUATE REMEDY AT LAW.
        Groupon has no adequate remedy at law. To establish its entitlement to a TRO, a movant

must demonstrate no adequate remedy at law exists. Long, 167 F. Supp. 2d at 990. Because the

full extent of Groupon’s injuries resulting from Shin’s conduct are not easily ascertainable,

Groupon lacks an adequate remedy at law.

        Groupon has and will suffer irreparable harm based on the improper use and

misappropriation of its trade secrets and confidential information. It has and will suffer irreparable

harm as a result of Shin’s employment with Yelp, which will require Shin to rely upon and use


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Groupon’ confidential information. Both of these categories of harm are ongoing. As such, it is

impossible to foresee the extent of damages, monetary and otherwise, Groupon will suffer as a

result of Shin’s misconduct. See, e.g., E*TRADE Fin. Corp. v. Pospisil, 2018 WL 4205401, at *5

(N.D. Ill. Sept. 4, 2018) (finding no adequate remedy at law for employee who used

misappropriated trade secret information to compete with former employer because “ongoing

competition itself” constitutes “a sufficient basis for relief”); HCAFranchise Corp. v. Alisch, 2016

WL 10706285, at *7 (N.D. Ind. Aug. 12, 2016) (former employer had no adequate remedy at law

for former employee’s misappropriation of trade secrets because “monetary damages are

insufficient to compensate for trade secret misappropriation”).

       To this end, Shin agreed that “[a] breach of any of the promises or agreements contained

herein will result in irreparable and continuing damage to Groupon for which there will be

insufficient adequate remedy at law.” See Cmplt., ¶ 1, Ex. A, ¶20. Because Groupon’s injury is

irreparable, it lacks an adequate remedy at law. Shin’s conduct must be enjoined to prevent further

irreparable harm to Groupon.


VII.   THE BALANCE OF HARDSHIPS FAVORS GROUPON BECAUSE SHIN’S NEW
       POSITION AT YELP WILL DIMINISH THE VALUE OF GROUPON’S TRADE
       SECRETS.
       The balance of hardships also weighs in Groupon’s favor given the clear and actual threat

that Shin’s employment with Yelp presents to Groupon.             Yelp and Groupon are online

marketplaces operating in the same verticals and competing for the same advertising spend. Shin’s

role at Yelp, like his role at Groupon, is to drive advertising strategy to earn merchants’ limited

advertising dollars. The threat Shin’s misconduct poses to Groupon overwhelmingly outweighs

any harm a TRO poses to him.




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        To balance the hardships, a court must compare the irreparable harm risked by the moving

party in the absence of injunctive relief against the irreparable harm risked by the nonmoving party

if injunctive relief is granted. W.S.R. v. Sessions, 318 F. Supp. 3d 1116, 1127 (N.D. Ill. 2018).

The Seventh Circuit “employs a sliding scale approach for this balancing: if a movant is more

likely to win, the balance of hardships can weigh less heavily in its favor, but the less likely a

movant is to win the more that balance would need to weigh in its favor.” W. Capra Consulting

Grp., Inc. v. Snyder, 2019 WL 3935045, at *7 (N.D. Ill. Aug. 20, 2019) (internal citations and

quotations omitted). Here, Groupon presents a strong likelihood of success on the merits of both

its claims and need not make as strong of a showing on the balance of hardships in order to be

entitled to injunctive relief. Regardless, the balance of hardships weighs strongly in Groupon’s

favor with respect to its request for a TRO.

        Here, the requested injunctive relief merely seeks to ensure Shin abides by what he already

is legally obligated to do. If entered, the TRO would require Shin to adhere to and uphold his

contractual obligations under the Agreement.        Shin would not be prevented from seeking

employment in his given profession, or industry-wide; he would simply be prohibited from holding

a role with similar responsibilities as he held at Groupon, or in which he will access and have

responsibility for confidential information similar to that he used and relied upon at Groupon. See

Cmplt., ¶ 1, Ex. A, ¶ 13(a). Shin has countless opportunities for employment, which will not run

afoul of the Agreement; instead he chose to work for Groupon’s admitted, direct competitor, Yelp,

in a virtually identical role.

        Because the potential harm to Groupon from Shin’s employment with Yelp and his use of

its trade secret information is great, and the potential harm to Shin is negligible, the balance of

harms weighs in favor of injunctive relief. See, e.g., Brunswick Corp. v. Jones, 784 F.2d 271, 275



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(7th Cir. 1986) (balance of irreparable harms weighed “heavily” in employer’s favor where former

employee possessed confidential information directly relevant to new position with competitor);

W. Capra, 2019 WL 3935045, at *12-*13 (balance of harms weighed in favor of former employer

where employee’s enforceable non-compete only prohibited seeking similar employment with

competitors; employee’s eventual harm would be reparable and compensable, whereas former

employer’s harm was irreparable).


VIII. ISSUANCE OF A TRO WOULD NOT HARM THE PUBLIC INTEREST.
        Finally, Groupon’s request should be granted because a TRO enforcing the Agreement to

prevent misappropriation of Groupon’s confidential and trade secret information would not harm

the public interest.

        In ruling on a motion for a TRO, the court must consider the public interest in granting or

denying an injunction. Stuller, Inc. v. Steak N Shake Enterps., Inc., 695 F.3d 676, 678 (7th Cir.

2012). Here, the public interest would not be harmed by a TRO enforcing Shin’s restrictive

covenant. Groupon has clearly demonstrated that its restrictive covenant conforms to Illinois law’s

standard of reasonableness and also is fully enforceable under Washington law, and therefore is

not “injurious to the public.” Reliable Fire, 965 N.E.2 at 325. And here, there is no evidence that

enforcement of the non-compete covenant would “deprive the public of unique skills or services,” or

allow Groupon to “unduly corner the market” on its online marketplace services. W. Capra, 2019

WL 3935045, at *13. Similarly, the public interest is served by preventing misappropriation of

Groupon’s trade secrets. See, e.g., La Calhene, Inc. v. Spolyar, 939 F. Supp. 523, 531 (W.D. Wis.

Aug. 23, 1996) (“The public interest favors enforcement of contracts and the protection of trade secret

information gathered and developed by a company at significant expense”); Lucini Italia Co. v.




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Grappolini, 2003 WL 1989605, at *18 (N.D. Ill. April 28, 2003) (public interest was served by

issuance of an injunction protecting plaintiff from future misuse of its trade secret information).

        Because the protection of Groupon’s trade secret information and the enforcement of its

reasonable restrictive covenant is not injurious to the public interest, Groupon’s request for a TRO

should be granted.

                                           CONCLUSION

        For the foregoing reasons, Plaintiff Groupon, Inc. respectfully requests this Court enter an

Order: (i) granting Groupon’s Motion for a Temporary Restraining Order in its entirety; (ii)

prohibiting Shin from employment with Yelp pending adjudication of the merits of Groupon’s

claims; (iii) prohibiting Shin from using, referencing or misappropriating Groupon’s trade secrets,

proprietary and confidential information; (iv) prohibiting Shin from soliciting Groupon’s

customers or employees; (v) awarding Groupon attorneys’ fees and costs incurred in bringing this

motion; and (vi) awarding any other relief this Court deems equitable and just.


Dated: November 12, 2021                                Respectfully submitted,

                                                        GROUPON, INC.


                                                        By: /s/ Kevin M. Cloutier
                                                                       One of Its Attorneys


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